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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                                No. 1:16-cv-08637


This Document Relates To: All Cases                       Honorable Thomas M. Durkin
                                                          Magistrate Judge Jeffrey T. Gilbert




                                ORDER REGARDING
                       BRIEFING FOR THE RESPECTIVE CLASSES’
                         MOTIONS FOR CLASS CERTIFICATION


       The three respective prospective plaintiff classes—specifically, the Direct Purchaser

Plaintiffs, the Commercial and Institutional Indirect Purchaser Plaintiffs, and the End User and

Consumer Plaintiffs—and the Defendants in the above-captioned case, through their respective

counsel of record, stipulate to the following regarding briefing regarding plaintiffs’ forthcoming

Motions for Class Certification, subject to approval by the Court.

       1.      Each of the three respective prospective plaintiff classes will submit their own

Motion for Class Certification, with a page limit of 45 pages per brief.

       2.      Defendants will submit a joint Opposition to each of the Motions for Class

Certification, with a page limit of 60 pages per brief.

       3.      Each of the three respective prospective plaintiff classes will submit Replies in

Support of their Motions for Class Certification, with a page limit of 40 pages per brief.

       4.      The parties agree to comply with this Stipulation pending the Court’s approval.




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     IT IS SO ORDERED:



        10/27/2020
DATED: ________________


                                    HONORABLE THOMAS M. DURKIN
                                    UNITED STATES DISTRICT JUDGE




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